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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLORADO


  Civil Action No: 1:22-CV-02224-KLM

  Thomas D. Seaman, Individually
  James Corey Goode, Individually

  Plaintiffs,

  v.

  Alyssa Chrystie Montalbano, Individually

  Defendant




                 DEFENDANT ALYSSA MONTALBANO
       MOTION TO RECUSE MAGISTRATE MIX PURSUANT 28 USC 455



        COMES NOW, Defendant, Alyssa Chrystie Montalbano, and moves the Court’s

  faithfully performing judicial Officers to Recuse Magistrate Mix from this instant case

  pursuant 28 USC 455 for the appearance of personal prejudice and bias and states as

  follows:

                                           I.      Conferral


  Montalbano has made efforts to confer with the parties in this instant case regarding this

  Motion.



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  Pro Se Litigant Mr. Seaman dba ALPINE JUDGMENT RECOVERY and pro se litigant

  (at the time of conferral being sought) Mr. James Corey Goode are unreachable for

  conferral. Montalbano delivered two emails to both parties regarding this Motion with

  attached exhibits since September 5, 2022, and no responses was received from

  Mr. Goode or his counsel of record (Ms. Yanaros) and Mr. Seaman refused to confer.



                      II.    RELEVANT PROCEDURAL BACKGROUND


        This instant case relates directly to pending Denver Federal Court Case

  1:20-CV-00742-DDD-KLM for which this case is pending to be joined/consolidated

  thereto [#1 Notice of Removal; #6 Notice Related Case]; and whereby Magistrate Mix is

  also a presiding officer over case 1:20-CV-00742-DDD-KLM and has shown prejudice

  and bias against Ms. Montalbano and will not follow the Law or Court Rules where her

  peers (Mr. Brian James Flynn) and celebrities (Mr. Goode) are involved and recommends

  breaking the Law to cover up for them.



                              III.   ARGUMENTS FOR RECUSAL



  1) Montalbano incorporates by reference the pending Motion to Recuse Magistrate Mix

     from case 1:20-CV-00742-DDD-KLM and it is incorporated herein.

     (Attached Document 1 – Motion Recuse)




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  2) Magistrate Mix refused to recuse herself in case 1:20-CV-00742-DDD-KLM and her

     denial response is attached hereto. (Attached Document 2 – Mix Refusal to Recuse)



  3) Montalbano incorporates by reference the pending appealed objection to Magistrate

     Mix’s refusal to recuse herself and it is incorporated herein (Attached Document 3

     Objection); and whereby the objection and Motion to Recuse remain pending before

     Judge Daniel Domenico in case 1:20-CV-00742-DDD-KLM.



         WHEREFORE, Montalbano respectfully requests that Magistrate Mix be recused

  from this instant case pursuant 28 USC 455 for the appearance of prejudice and bias, and

  because her complete impartiality in this related case and matter are reasonably in

  question as she recommends actions in direct conflict with the State and National

  Constitutions which are the Supreme Law of the Land and for which she has an Oath of

  Office to uphold and protect above all else and has willfully failed to do so where her

  licensed peers and celebrities are involved.


  Dated this 9th Day of September 2022                   Respectfully Submitted and All

                                                         Rights Reserved,

                                                         /s/ Alyssa Chrystie Montalbano

                                                         American Citizen, Defendant

                                                         970.250.8365
                                                         2536 Rimrock Ave
                                                         Suite 400-117
                                                         Grand Junction, CO 81505
                                                         E-mail: LegalZenACM@gmail.com
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                                   CERTIFICATE OF SERVICE

  I certify that on this 9th day of September 2022 a true copy of the foregoing Motion and attached
  Exhibits were filed via the CM/ECF filing system and the same delivered by paper mail upon the
  following pro se party:


  Mr. Thomas D. Seaman
  dba ALPINE JUDGMENT RECOVERY
  PO Box 1002
  Ridgway, CO 81432
  USPS Certified Mail 7021 0950 0001 5240 1661

  And upon Mr. James Corey Goode via his Counsel via the CM/ECF system:

  Valerie Yanaros
  Yanaros Law, P.C.
  8300 Douglas Avenue Suite 800
  Dallas, Texas 75225
  Telephone: (512) 826-7553
  valerie@yanaroslaw.co


  /s/ Alyssa Montalbano

  Alyssa Montalbano, American Citizen




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